          Case 3:20-cv-00087-ARS Document 1 Filed 05/22/20 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA


  Ardell L. Jenkins,                          §
                                              §
                                              §
       Plaintiff,                             §
                                              §
               v.                             §              Case No. 3:20-cv-87
  Cass County Jail et al                      §
                                              §
                                              §
                                              §
       Defendant(s).


                           PLRA REQUEST TO PLAINTIFF

Upon review, the Clerk notes that you have neglected to file the documents, checked below. Please
complete and submit the indicated documents, so that your lawsuit can proceed to the Court for
disposition.


                ✔      Request for Waiver of Service of Summons (AO form 398)
                             (One for each defendant)

                       Complaint (local form A)

                ✔      Application to Proceed in forma pauperis (local form B) or $0.00 filing fee

                ✔      Certificate of Inmate Account and Assets (local form C)


Complete and submit the documents, as marked above, to the office indicated below:

       Office of the Clerk of Court                          Office of the Clerk of Court
       District of ND, Western Division                 ✔    District of ND, Eastern Division
       PO Box 1193                                           655 First Avenue North, Suite 130
       Bismarck, ND 58502-1193                               Fargo, ND 58102-4932


If the Clerk’s office does not receive a response from you by June 6, 2020
 your original documents will be returned to you as unfiled.
